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PROCESSING OPERATIONS
HEADQUARTERS
UNITED STATES POSTAL SERVICE

Processing Operations Management Order 2722%..

 

 

‘Operational Clean Sweep Seach Checklist - Political and Election Mail

 

 

 

 

 

 

District: GREENSBORO Name: COURMAN, RITA
Phone #: 919-420-5119 Title: MANAGER, DISTRIBUTION OPERATIONS
SECTION / OPERATION: COMMENTS:
CHECK Box
WHEN SPECIFICS INCLUDE: COPIES OF PMOD LABEL AND/OR
COMPLETED | WORK AREA TO BE SEARCHED CONTAINER PLACARD, NAMES OF INDIVIDUALS CONTACTED
[A] INCOMING DOCK see attached political listings

 

BMEU & BMEU PLANT STAGING

 

OPENING UNITS

 

AO / STATION DISPATCH AREA

 

OUTBOUND DOCK

 

OUTGOING DISPATCH AREA

 

TRAILERS IN YARD (YARD CHECK)

 

MTE PLANT STAGING AREA

 

MTE TRAILERS

 

SITE MTESC

 

PARS STAGING AND OPERATIONS

 

REWRAP OPERATIONS

 

CFS (IF APPLICALE)

 

 

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BRM / POSTAGE DUE

 

 

 
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PROCESSING OPERATIONS
HEADQUARTERS i)
UNITED STATES POSTAL SERVICE

Processing Operations Management Order

UNITED STATES

POSTAL SERVICErm

 

 

‘Operational Clean Sweep Seach Checklist - Political and Election Mail

 

 

 

 

 

 

District: GREENSBORO Name: ALIOUNE DIOP
Phone #: 9194205120 Title: MDO
CHECK BOX SECTION / OPERATION: COMMENTS:
COMPLETED | WORK AREA TO BE SEARCHED CONTAINER PLACARD, NAMES OF INDIVIDUALS CONTACTED
[A] INCOMING DOCK CLEAR

 

BMEU & BMEU PLANT STAGING

pallot of absentee ballots

 

OPENING UNITS

PALLETS OF STD LETTERS/absentee ballots

 

AO / STATION DISPATCH AREA

pallets of std flats

 

 

 

OUTBOUND DOCK CLEAR
OUTGOING DISPATCH AREA CLEAR
TRAILERS IN YARD (YARD CHECK) N/A

 

MTE PLANT STAGING AREA

CLEAR OF POLITICAL MAIL

 

 

 

 

 

 

 

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MTE TRAILERS NA
SITE MTESC NA
PARS STAGING AND OPERATIONS CLEAR
REWRAP OPERATIONS CLEAR
CFS (IF APPLICALE) NA
BRM / POSTAGE DUE NA

 

 
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PROCESSING OPERATIONS
HEADQUARTERS
UNITED STATES POSTAL SERVICE

Processing Operations Management Order 2722%%.

 

 

‘Operational Clean Sweep Seach Checklist - Political and Election Mail

 

 

 

 

 

 

District! GREENSBORO Name: Markethia Harris
Phone #: 919 420 5121 Title: Supervisor Distribution Operations
CHECK BOX SECTION / OPERATION: COMMENTS:
COMPLETED | WORK AREA TO BE SEARCHED CONTAINER PLACARD, NAMES OF INDIVIDUALS CONTACTED
[A INCOMING DOCK

 

BMEU & BMEU PLANT STAGING

 

OPENING UNITS

 

AO / STATION DISPATCH AREA

 

OUTBOUND DOCK

 

OUTGOING DISPATCH AREA

 

TRAILERS IN YARD (YARD CHECK)

 

MTE PLANT STAGING AREA

 

MTE TRAILERS

 

SITE MTESC

 

PARS STAGING AND OPERATIONS

 

REWRAP OPERATIONS

 

CFS (IF APPLICALE)

 

 

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BRM / POSTAGE DUE

 

 

 

 

 
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PROCESSING OPERATIONS
HEADQUARTERS
UNITED STATES POSTAL SERVICE

Processing Operations Management Order 272222.

 

 

 

oP ‘Operational Clean Sweep Seach Checklist - Political and Election Mail

 

 

 

 

 

 

District: GREENSBORO Name: COURMAN, RITA
Phone #: 919-420-5119 Title: MANAGER, DISTRIBUTION OPERATIONS
a SECTION / OPERATION: COMMENTS:
CHECK BOX | ma
__WHEN SPECIFICS INCLUDE: COPIES OF PMOD LABEL AND/OR
COMPLETED | WORK AREA TO BE SEARCHED CONTAINER PLACARD, NAMES OF INDIVIDUALS CONTACTED
[A] INCOMING DOCK see attached political listings

 

BMEU & BMEU PLANT STAGING

 

OPENING UNITS

 

AO / STATION DISPATCH AREA

 

OUTBOUND DOCK

 

OUTGOING DISPATCH AREA

 

TRAILERS IN YARD (YARD CHECK)

 

MTE PLANT STAGING AREA

 

MTE TRAILERS

 

SITE MTESC

 

PARS STAGING AND OPERATIONS

 

REWRAP OPERATIONS

 

CFS (IF APPLICALE)

 

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BRM / POSTAGE DUE

 

 

 

 

 
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PROCESSING OPERATIONS
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UNITED STATES POSTAL SERVICE

Processing Operations Management Order

UNITED STATES
POSTAL SERVICErm

 

 

-’ Operational Clean Sweep Seach Checklist - Political and Election Mail

 

 

 

 

 

 

District: GREENSBORO Name: ALIOUNE DIOP
Phone #: 9194205120 Title: MDO
CHECK BOX SECTION / OPERATION: COMMENTS:
COMPLETED | WORK AREA TO BE SEARCHED CONTAINER PLACARD, NAMES OF INDIVIDUALS CONTACTED
[A CLEAR

INCOMING DOCK

 

BMEU & BMEU PLANT STAGING

pallot of absentee ballots

 

OPENING UNITS

PALLETS OF STD LETTERS/absentee ballots

 

AO / STATION DISPATCH AREA

pallets of std flats

 

 

 

OUTBOUND DOCK CLEAR
OUTGOING DISPATCH AREA CLEAR
TRAILERS IN YARD (YARD CHECK) N/A

 

MTE PLANT STAGING AREA

CLEAR OF POLITICAL MAIL

 

 

 

 

 

 

 

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MTE TRAILERS NA
SITE MTESC NA
PARS STAGING AND OPERATIONS CLEAR
REWRAP OPERATIONS CLEAR
CFS (IF APPLICALE) NA
BRM / POSTAGE DUE NA

 

 

 

 

 
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PROCESSING OPERATIONS
HEADQUARTERS
UNITED STATES POSTAL SERVICE

Processing Operations Management Order :s22%6..

 

 

Operational Clean Sweep Seach Checklist - Political and Election Mail

 

 

 

 

 

 

District: GREENSBORO Name: Markethia Harris
Phone #: 919 420 5121 Title: Supervisor Distribution Operations
CHECK BOX SECTION / OPERATION: COMMENTS:
COMPLETED | WORK AREA TO BE SEARCHED CONTAINER PLACARD, NAMES OF INDIVIDUALS CONTACTED
[AJ INCOMING DOCK

 

BMEU & BMEU PLANT STAGING

 

OPENING UNITS

 

AQ / STATION DISPATCH AREA

 

OUTBOUND DOCK

 

OUTGOING DISPATCH AREA

 

TRAILERS IN YARD (YARD CHECK)

 

MTE PLANT STAGING AREA

 

MTE TRAILERS

 

SITE MTESC

 

PARS STAGING AND OPERATIONS

 

REWRAP OPERATIONS

 

CFS (IF APPLICALE)

 

 

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BRM / POSTAGE DUE

 

 

 

 
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PROCESSING OPERATIONS
HEADQUARTERS
UNITED STATES POSTAL SERVICE

Processing Operations Management Order 227326.

 

 

~’ Operational Clean Sweep Seach Checklist - Political and Election Mail

District:

Phone #:

GREENSBORO

 

919-420-5119

Name: COURMAN, RITA

Title: MANAGER, DISTRIBUTION OPERATIONS

 

CHECK BOX
WHEN
COMPLETED

SECTION / OPERATION:

WORK AREA TO BE SEARCHED

COMMENTS:

SPECIFICS INCLUDE: COPIES OF PMOD LABEL AND/OR
CONTAINER PLACARD, NAMES OF INDIVIDUALS CONTACTED

 

INCOMING DOCK

no political mailings received

 

BMEU & BMEU PLANT STAGING

 

OPENING UNITS

 

AQ / STATION DISPATCH AREA

 

OUTBOUND DOCK

 

OUTGOING DISPATCH AREA

 

TRAILERS IN YARD (YARD CHECK)

 

MTE PLANT STAGING AREA

 

MTE TRAILERS

 

SITE MTESC

 

PARS STAGING AND OPERATIONS

 

REWRAP OPERATIONS

 

CFS (IF APPLICALE)

 

 

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BRM / POSTAGE DUE

 

 

 
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PROCESSING OPERATIONS
HEADQUARTERS
UNITED STATES POSTAL SERVICE

Processing Operations Management Order

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UNITED STATES.
POSTAL SERVICE™

 

 

Operational Clean Sweep Seach Checklist - Political and Election Mail

 

 

 

 

 

District: GREENSBORO Name: ALIOUNE DIOP
Phone #: 9194205120 Title: MDO
SECTION / OPERATION: COMMENTS:
CHECK BOX
WHEN :
COMPLETED | WORK AREA TO BE SEARCHED SPECIFICS INCLUDE: COPIES OF PMOD LABEL AND/OR

CONTAINER PLACARD, NAMES OF INDIVIDUALS CONTACTED

 

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INCOMING DOCK

CLEAR

 

BMEU & BMEU PLANT STAGING

pallets of absentee ballots

 

OPENING UNITS

PALLETS OF STD LETTERS/absentee ballots

 

AO / STATION DISPATCH AREA

pallets of std flats

 

 

 

OUTBOUND DOCK CLEAR
OUTGOING DISPATCH AREA CLEAR
TRAILERS IN YARD (YARD CHECk) N/A

 

MTE PLANT STAGING AREA

CLEAR OF POLITICAL MAIL

 

 

 

 

 

 

 

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MTE TRAILERS NA
SITE MTESC NA
PARS STAGING AND OPERATIONS CLEAR
REWRAP OPERATIONS CLEAR
CFS (IF APPLICALE) NA
BRM / POSTAGE DUE NA

 

 

 

 

 
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PROCESSING OPERATIONS
HEADQUARTERS
UNITED STATES POSTAL SERVICE

Processing Operations Management Order 22227.

 

 

Operational Clean Sweep Seach Checklist - Political and Election Mail

 

 

 

 

 

 

District: GREENSBORO Name: Markethia Harris
Phone #: 919 420 5121 Title: Supervisor Distribution Operations
CHECK BOX SECTION / OPERATION: COMMENTS:
COMPLETED | WORK AREA TO BE SEARCHED CONTAINER PLACARD, NAMES OF INDIVIDUALS CONTACTED
[Aj INCOMING DOCK

 

BMEU & BMEU PLANT STAGING

 

OPENING UNITS

 

AO / STATION DISPATCH AREA

 

OUTBOUND DOCK

 

OUTGOING DISPATCH AREA

 

TRAILERS IN YARD (YARD CHECK)

 

MTE PLANT STAGING AREA

 

MTE TRAILERS

 

SITE MTESC

 

PARS STAGING AND OPERATIONS

 

REWRAP OPERATIONS

 

CFS (IF APPLICALE)

 

 

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BRM / POSTAGE DUE

 

 

 

 
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PROCESSING OPERATIONS
HEADQUARTERS
UNITED STATES POSTAL SERVICE

Processing Operations Management Order 222%.

 

 

Operational Clean Sweep Seach Checklist - Political and Election Mail

 

 

 

 

 

 

District: GREENSBORO Name: COURMAN, RITA
Phone #: 919-420-5119 Title: MANAGER, DISTRIBUTION OPERATIONS
eumem nex SECTION / OPERATION: COMMENTS:
COMPLETED | WORK AREA TO BE SEARCHED CONTAINER PLACARD, NAMES OF INDIVIDUALS CONTACTED
[A INCOMING DOCK no political mail received 10-31-20 (T2)

 

BMEU & BMEU PLANT STAGING

 

OPENING UNITS

 

AQ / STATION DISPATCH AREA

 

OUTBOUND DOCK

 

OUTGOING DISPATCH AREA

 

TRAILERS IN YARD (YARD CHECk)

 

MTE PLANT STAGING AREA

 

MTE TRAILERS

 

SITE MTESC

 

PARS STAGING AND OPERATIONS

 

REWRAP OPERATIONS

 

CFS (IF APPLICALE)

 

 

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BRM / POSTAGE DUE

 

 

 
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PROCESSING OPERATIONS
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UNITED STATES POSTAL SERVICE

Processing Operations Management Order

UNITED STATES
POSTAL SERVICE

 

 

Operational Clean Sweep Seach Checklist - Political and Election Mail

 

 

 

 

 

 

 

 

 

 

 

 

District: GREENSBORO Name: KOUNTE, A
Phone #: 9194205120 Title: MDO (A)
CHECK BOX SECTION / OPERATION: COMMENTS:
COMPLETED | WORK AREA TO BE SEARCHED CONTAINER PLACARD, NAMES OF INDIVIDUALS CONTACTED
[AJ INCOMING DOCK CLEAR
BMEU & BMEU PLANT STAGING CLEAR
OPENING UNITS CLEAR
AQ / STATION DISPATCH AREA CLEAR
OUTBOUND DOCK CLEAR
OUTGOING DISPATCH AREA CLEAR
TRAILERS IN YARD (YARD CHECK) N/A

 

MTE PLANT STAGING AREA

CLEAR OF POLITICAL MAIL

 

 

 

 

 

 

 

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MTE TRAILERS NA
SITE MTESC NA
PARS STAGING AND OPERATIONS CLEAR
REWRAP OPERATIONS CLEAR
CFS (IF APPLICALE) NA
BRM / POSTAGE DUE NA

 

 

 
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PROCESSING OPERATIONS
HEADQUARTERS
UNITED STATES POSTAL SERVICE

Processing Operations Management Order 2725...

 

 

Operational Clean Sweep Seach Checklist - Political and Election Mail

 

 

 

 

 

District: GREENSBORO Name: Markethia Harris
Phone #: 919 420 5121 Title: Supervisor Distribution Operations
SECTION / OPERATION: COMMENTS:
CHECK BOX
WHEN :
COMPLETED | WORK AREA TO BE SEARCHED SPECIFICS INCLUDE: COPIES OF PMOD LABEL AND/OR

CONTAINER PLACARD, NAMES OF INDIVIDUALS CONTACTED

 

ES

INCOMING DOCK

 

BMEU & BMEU PLANT STAGING

 

OPENING UNITS

 

AO/ STATION DISPATCH AREA

 

OUTBOUND DOCK

 

OUTGOING DISPATCH AREA

 

TRAILERS IN YARD (YARD CHECK)

 

MTE PLANT STAGING AREA

 

MTE TRAILERS

 

SITE MTESC

 

PARS STAGING AND OPERATIONS

 

REWRAP OPERATIONS

 

CFS (IF APPLICALE)

 

 

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BRM / POSTAGE DUE

 

 

 

 

 
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PROCESSING OPERATIONS
HEADQUARTERS
UNITED STATES POSTAL SERVICE

Processing Operations Management Order 472%...

 

 

Operational Clean Sweep Seach Checklist - Political and Election Mail

 

 

 

 

 

 

District: GREENSBORO Name: COURMAN, RITA
Phone #: 919-420-5119 Title: MANAGER, DISTRIBUTION OPERATIONS
SECTION / OPERATION: COMMENTS:
CHECK BOX
WHEN SPECIFICS INCLUDE: COPIES OF PMOD LABEL AND/OR
COMPLETED | WORK AREA TO BE SEARCHED CONTAINER PLACARD, NAMES OF INDIVIDUALS CONTACTED
[A] INCOMING DOCK no political mail received

 

BMEU & BMEU PLANT STAGING

 

OPENING UNITS

 

AQ / STATION DISPATCH AREA

 

OUTBOUND DOCK

 

OUTGOING DISPATCH AREA

 

TRAILERS IN YARD (YARD CHECk)

 

MTE PLANT STAGING AREA

 

MTE TRAILERS

 

SITE MTESC

 

PARS STAGING AND OPERATIONS

 

REWRAP OPERATIONS

 

CFS (IF APPLICALE)

 

 

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BRM / POSTAGE DUE

 

 

 
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PROCESSING OPERATIONS
HEADQUARTERS
UNITED STATES POSTAL SERVICE

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POSTAL SERVICET™

 

 

Operational Clean Sweep Seach Checklist - Political and Election Mail

 

 

 

 

 

District: GREENSBORO Name: ALIOUNE DIOP
Phone #: 9194205120 Title: MDO
SECTION / OPERATION: COMMENTS:
CHECK BOx
WHEN SPECIFICS INCLUDE: COPIES OF PMOD LABEL AND/OR
COMPLETED | WORK AREA TO BE SEARCHED CONTAINER PLACARD, NAMES OF INDIVIDUALS CONTACTED

 

FS)

INCOMING DOCK

CLEAR

 

BMEU & BMEU PLANT STAGING

pallot of absentee ballots

 

OPENING UNITS

PALLETS OF STD LETTERS/absentee ballots

 

AO / STATION DISPATCH AREA

pallets of std flats

 

 

 

OUTBOUND DOCK CLEAR
OUTGOING DISPATCH AREA CLEAR
TRAILERS IN YARD (YARD CHECK) N/A

 

MTE PLANT STAGING AREA

CLEAR OF POLITICAL MAIL

 

 

 

 

 

 

 

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MTE TRAILERS NA
SITE MTESC NA
PARS STAGING AND OPERATIONS CLEAR
REWRAP OPERATIONS CLEAR
CFS (IF APPLICALE) NA
BRM / POSTAGE DUE NA

 

 
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PROCESSING OPERATIONS
HEADQUARTERS
UNITED STATES POSTAL SERVICE

Processing Operations Management Order 2222..

 

 

Operational Clean Sweep Seach Checklist - Political and Election Mail

 

 

 

 

 

District: GREENSBORO Name: Markethia Harris
Phone #: 919 420 5121 Title: Supervisor Distribution Operations
SECTION / OPERATION: COMMENTS:
CHECK BOX
WHEN .
COMPLETED | WORK AREA TO BE SEARCHED SPECIFICS INCLUDE: COPIES OF PMOD LABEL AND/OR

CONTAINER PLACARD, NAMES OF INDIVIDUALS CONTACTED

 

|

INCOMING DOCK

 

BMEU & BMEU PLANT STAGING

 

OPENING UNITS

 

AOQ/ STATION DISPATCH AREA

 

OUTBOUND DOCK

 

OUTGOING DISPATCH AREA

 

TRAILERS IN YARD (YARD CHECK)

 

MTE PLANT STAGING AREA

 

MTE TRAILERS

 

SITE MTESC

 

PARS STAGING AND OPERATIONS

 

REWRAP OPERATIONS

 

CFS (IF APPLICALE)

 

 

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BRM / POSTAGE DUE

 

 

 

 
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PROCESSING OPERATIONS
HEADQUARTERS
UNITED STATES POSTAL SERVICE

Processing Operations Management Order 272225..

 

 

Operational Clean Sweep Seach Checklist - Political and Election Mail

 

 

 

 

 

 

District: GREENSBORO Name: COURMAN, RITA
Phone #: 919-420-5119 Title: MANAGER, DISTRIBUTION OPERATIONS
pues SECTION / OPERATION: COMMENTS:
COMPLETED | WORK AREA TO BE SEARCHED CONTAINER PLACARD, NAMES OF INDIVIDUALS CONTACTED
A INCOMING DOCK no political mail received

 

BMEU & BMEU PLANT STAGING

 

OPENING UNITS

 

AQ / STATION DISPATCH AREA

 

OUTBOUND DOCK

 

OUTGOING DISPATCH AREA

 

TRAILERS IN YARD (YARD CHECk)

 

MTE PLANT STAGING AREA

 

MTE TRAILERS

 

SITE MTESC

 

PARS STAGING AND OPERATIONS

 

REWRAP OPERATIONS

 

CFS (IF APPLICALE)

 

 

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BRM / POSTAGE DUE

 

 

 

 

 
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PROCESSING OPERATIONS
HEADQUARTERS
UNITED STATES POSTAL SERVICE

Processing Operations Management Order

UNITED STATES
POSTAL SERVICEru

 

 

Operational Clean Sweep Seach Checklist - Political and Election Mail

District:

 

 

 

 

 

GREENSBORO Name: ALIOUNE DIOP
Phone #: 9194205120 Title: MDO
SECTION / OPERATION: COMMENTS:
CHECK BOX
WHEN
COMPLETED | WORK AREA TO BE SEARCHED SPECIFICS INCLUDE: COPIES OF PMOD LABEL AND/OR

CONTAINER PLACARD, NAMES OF INDIVIDUALS CONTACTED

 

FE

INCOMING DOCK

CLEAR

 

BMEU & BMEU PLANT STAGING

pallot of absentee ballots

 

OPENING UNITS

PALLETS OF STD LETTERS/absentee ballots

 

AO / STATION DISPATCH AREA

pallets of std flats

 

 

 

OUTBOUND DOCK CLEAR
OUTGOING DISPATCH AREA CLEAR
TRAILERS IN YARD (YARD CHECk) N/A

 

MTE PLANT STAGING AREA

CLEAR OF POLITICAL MAIL

 

 

 

 

 

 

 

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MTE TRAILERS NA
SITE MTESC NA
PARS STAGING AND OPERATIONS CLEAR
REWRAP OPERATIONS CLEAR
CFS (IF APPLICALE) NA
BRM / POSTAGE DUE NA

 

 

 

 
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PROCESSING OPERATIONS
HEADQUARTERS
UNITED STATES POSTAL SERVICE

Processing Operations Management Order 2423%5..

 

 

Operational Clean Sweep Seach Checklist - Political and Election Mail

 

 

 

 

 

 

District: GREENSBORO Name: Markethia Harris
Phone #: 919 420 5121 Title: Supervisor Distribution Operations
CHECK BOX SECTION / OPERATION: COMMENTS:
CouPLETED WORK AREA TO SE SEARCHED CONTAINER! PLAGARD, WAM OF ADIVITALE GUNTAGCTED
[AI INCOMING DOCK

 

BMEU & BMEU PLANT STAGING

 

OPENING UNITS

 

AO / STATION DISPATCH AREA

 

OUTBOUND DOCK

 

OUTGOING DISPATCH AREA

 

TRAILERS IN YARD (YARD CHECK)

 

MTE PLANT STAGING AREA

 

MTE TRAILERS

 

SITE MTESC

 

PARS STAGING AND OPERATIONS

 

REWRAP OPERATIONS

 

CFS (IF APPLICALE)

 

 

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BRM / POSTAGE DUE

 

 

 

 
